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Plaintiffs’ Co-Lead Counsel


                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA

IN RE: FACEBOOK, INC., CONSUMER PRIVACY MDL No. 2843
USER PROFILE LITIGATION                 Case No. 18-md-02843-VC
                                               DECLARATION OF LESLEY E.
THIS DOCUMENT RELATES TO:
                                               WEAVER IN SUPPORT OF JOINT
ALL ACTIONS
                                               DISCOVERY LETTER
                                               Judge: Hon. Vince Chhabria




 CASE NO. 3:18-MD-02843-VC                            DECLARATION OF LESLEY E. WEAVER
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I, Lesley E. Weaver, declare and state as follows:

       1.      I am an attorney licensed in the State of California and admitted to the United States

District Court for the Northern District of California. I am a partner at Bleichmar Fonti & Auld LLP,

Co-Lead Counsel for Plaintiffs in In re Facebook, Inc. Consumer Privacy User Profile Litigation, Case

No. 18-md-02843-VC. I have personal knowledge of the facts set forth herein and, if called as a

witness, could and would testify competently to them.

       2.      This declaration is made in support of the parties’ joint letter brief concerning two

discovery-related issues.

       3.      A true and correct copy of Facebook’s responses and objections to Plaintiffs’ First Set

of Interrogatories is attached hereto as Exhibit 1.

       4.      A true and correct copy of Facebook’s responses and objections to Plaintiffs’ First Set

of Requests for Production of Documents is attached hereto as Exhibit 2.

       I declare under penalty of perjury under the laws of the United States and the State of

California that the foregoing is true and correct and to the best of my knowledge. This declaration was

executed in Oakland, California.


 DATED: November 29, 2018
                                                                  /s/ Lesley E. Weaver
                                                                    Lesley E. Weaver




 CASE NO. 3:18-MD-02843-VC                                        DECLARATION OF LESLEY E. WEAVER

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